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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



STEPHEN INNEO,

                     Plaintiff,
                                                    Docket No.: 3:17-cv-00608-MAS-LHG
      v.

THE BLUE PEACH CAFÉ, INC.,                          NOTICE OF VOLUNTARY
RAVEN & THE PEACH, INC., and                        DISMISSAL PURSUANT TO FRCP 41
NAUVOO GRILL CLUB, INC.,
domestic corporations, and
RICHARD BAHADURIAN,
an individual,

                     Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff STEPHEN INNEO, by and through his attorneys JTB LAW GROUP, LLC,

hereby gives notice that the above-captioned action is voluntarily dismissed, against all

Defendants, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

Dated: March 23, 2017                               Respectfully submitted,
Jersey City, New Jersey

                                                    JTB LAW GROUP, LLC

                                                    /s/ Jason T. Brown
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